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                  UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF FLORIDA
                      WEST PALM BEACH DIVISION
                         www.flsb.uscourts.gov


IN RE:                                        CASE NO.: 19-18585-MAM

                                              Chapter 11
MERIDIAN MARINA & YACHT CLUB
OF PALM CITY, LLC

Debtor.
______________________________/




             SECOND AMENDED PLAN OF REORGANIZATION
                FOR MERIDIAN MARINA & YACHT CLUB
                        OF PALM CITY, LLC




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                                    By: _/s/_Craig Kelley___
                                        Craig I. Kelley, Esquire
                                        Florida Bar No.: 782203
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       MERIDIAN MARINA & YACHT CLUB OF PALM CITY, LLC Debtor in Possession,

hereby proposes the following Plan of Reorganization pursuant to Chapter 11 of the

Bankruptcy Code.

                               ARTICLE I – DEFINITIONS

       For purposes of this Plan of Reorganization, and as may be amended, (the "Plan")

and to the extent not otherwise provided herein, the terms below shall have the respective

meanings hereinafter set forth and, unless otherwise indicated, the singular shall include

the plural and any term in the Plan which is not defined below, but which is used in the

Bankruptcy Code, shall have the meaning assigned to it in the Bankruptcy Code. The

following terms when used in this Plan shall, unless the context otherwise requires, have

the following meanings:

       1.1    "Administrative Claim" means a claim allowed under Section 503(b) of the

Bankruptcy Code that is entitled to priority under Section 507(a)(1) of the Bankruptcy Code.

       1.2    "Allowed Claim" means (1) any claim listed in the Debtor’s Schedules as filed

in connection with its Bankruptcy and not scheduled as unliquidated, contingent or

disputed, and/or (2) any claim against the Debtor, a Proof of which was timely filed on or

before the bar date established by Order of the Bankruptcy Court pursuant to Bankruptcy

Rule 3003(c) for claims against the Debtor’s estate, against which filed claim no objection

to the allowance thereof has been interposed, or as to any such objection there has been a

final order entered and/or (3) any claim against the Debtor which is reduced to writing and

is consented to by the Debtor and liquidated in an amount, which writing has been

approved by a final Order.

       1.3    "Allowed Priority Claim" means that portion of an Allowed Claim entitled to

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priority under Section 507(a)(3), (4) (6) and (8) of the Bankruptcy Code.

       1.4    "Allowed Secured Claim" means an Allowed Claim of a creditor secured by a

"Lien", as that term is defined in Section 101(37) of the Bankruptcy Code against any

"property" of the Debtor’s estate, but only to the extent of the "value", as determined by the

Bankruptcy Court pursuant to Section 506(a) of the Bankruptcy Code and Bankruptcy Rule

3012 or as otherwise agreed to, of such creditors interest in such estate's interest in such

property, but excluding claims under Section 506(b). In accordance with the definition set

forth in Section 506(a) of the Bankruptcy Code, an "Allowed Secured Claim" specifically

excludes that portion of an Allowed Claim of a creditor having a Lien against any property

of the Debtor’s estate to the extent that the value of such creditors interest is less than the

amount of such allowed claim. Only liens on property of the estate of the Debtor or on the

proceeds thereof which are valid, perfected, and enforceable under applicable law and not

subject to avoidance under the Bankruptcy Code or applicable non-Bankruptcy Law shall

be an Allowed Secured Claim.

       1.5    "Allowed Tax Claim" means any Allowed Claim of a taxing authority entitled to

priority treatment under Section 507(a)(8) of the Bankruptcy Code.

       1.6    "Allowed Unsecured Claim" means any Allowed Claim which is not an

Administrative Claim, an Allowed Priority Claim, or an Allowed Secured Claim.

       1.7    Assets shall include the following:

              a.       The real property located at 1400 SW Chapman Way, together with
                   the buildings and improvements thereon and all right, title and interest of
                   Seller in and to appurtenances of the Land, including riparian rights,
                   easements and rights-of-way relating thereto, and, without warranty, all
                   right, title and interest of Seller in and to the land lying within any street or
                   roadway adjoining the Land or any vacated or hereafter vacated street or
                   alley adjoining said Land;

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               b.       All of Seller’s right, title and interest, if any, in and to all fixtures,
                    furniture, equipment, and other tangible personal property, if any, owned
                    by Seller (collectively, the “Personal Property”) presently located on the
                    Land or used in connection with the Property, including, without limitation,
                    all: 1.vehicles and watercraft, including trailers and travel-lifts (the
                    “Vehicles”), 2.telephone systems and computer equipment, including
                    software installed thereon, 3.third party vendor parts and accessories
                    located at the Property or in transit to the Property on the Closing Date
                    and 4.gasoline, motor oil, and other similar fuel and fluids currently stored
                    on the Property;

               c.      3.38 acres located at 1120 SW Chapman Way.


       1.8     "Claimant" means the holder of a claim.

       1.9     "Continuing Operations" means the ongoing business operation and such

other businesses in which the reorganized Debtor may engage from time to time.

       1.10    "Debtor" means MERIDIAN MARINA & YACHT CLUB OF PALM CITY, LLC

       1.11    "Disputed Claim" means any Claim designated as disputed, contingent or

unliquidated in the Debtor’s Schedules filed in connection with this Bankruptcy Case, or any

Claim against which an objection to the allowance thereof has been, or will be, interposed,

and as to which no final Order has been entered.

       1.12 "Effective Date" means thirty (30) days after the entry of the Order of

Confirmation at which time the payments called for herein will occur, unless stated

otherwise in the Plan.

       1.13 "Final Order" means an Order or Judgment entered by the Bankruptcy Court,

or another Court of competent jurisdiction, in connection with the Debtor’s reorganization

case, which has not been reversed, stayed, modified, or amended and as to which the time

to appeal or to seek certiorari, review or rehearing has expired, as to which no petition for


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certiorari, review or rehearing is pending or as to which any right to appeal or to seek

certiorari, review or rehearing has been waived in writing in a manner satisfactory to the

Debtor.

       1.14    "Leases" means those certain Leases that are property of the Estate under

which machinery, equipment or real property are leased to the Debtor or by the Debtor, as

may be applicable.

       1.15 "Plan" means this Plan of Reorganization, including any amendments or

modifications thereto.

       1.16 "Priority Claim" means a claim which qualifies for priority treatment under

Section 507(a)(3), (4) or (6) of the Bankruptcy Code, other than Administrative Claims and

Tax Claims.

       1.17 “Pro Rata” means in the same proportion as each creditor’s Allowed Claim

bears to the total claims of the class; i.e., a creditor’s pro rata distribution shall be a

percentage of the total funds available for distribution which is equal to the amount of the

creditor’s claim, divided by the sum of (a) the total amount of all Allowed Claims and (b) the

amount of all Disputed Claims.

       1.18    "Record Date" means (a) for the purpose of voting on the Plan, the date of

entry of an Order approving the Disclosure Statement with respect to the Plan, and, (b) for

the purpose of any distribution to holders of allowed interest under the Plan, the

Confirmation Date.

       1.19 “Sale” means the sale of the Debtor’s Assets as contemplated in this Plan

refers to the sale set forth more fully in the Debtor’s Motion for Authorization to Sell Assets

Free and Clear of Liens, Claims, Encumbrances and Interests [D.E. #138] with Integra Real

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Estate, LLC as the Purchaser (the “Sale Motion”).

       1.20 “Sale Contract” includes the aggregate of the following Agreements:

       (a) The Agreement for Purchase and Sale for 1400 SW Chapman Way dated

May 17, 2020; and

       (b) The Agreement for Purchase and Sale for 1120 SW Chapman Way dated

May 17, 2020; and

       (c) The Assignment and Assumption of Purchase and Sale Agreements by

Integra Real Estate, LLC dated July 1, 2020 regarding both of the aforementioned

Agreements.

       1.21 "Secured Creditor" means the holder of an allowed Secured Claim.

       1.22 "Tax Claim" means a claim filed by a Taxing Authority alleging priority status

under Section 507(a)(8) of the Bankruptcy Code.

       1.23 "Unsecured Creditor" means the holder of an Allowed Unsecured Claim, other

than an Administrative Claim, Priority Claim, Secured Claim or Tax Claim.

       1.24 "Confirmation Date" means the date in which the Confirmation Order is entered

on the Docket by the Bankruptcy Clerk.

       1.25    "Confirmation Order" means an Order of the Bankruptcy Court confirming the

provisions of the Plan of Reorganization, and any amendments or modifications thereto,

pursuant to 11 U.S.C. Section 1129 of the Bankruptcy Code.

                  ARTICLE II - PROVISIONS FOR ADMINISTRATIVE CLAIMS & FEES

       2.1     Administrative Claims

       All allowed Administrative Claims of the type specified in 11 U.S.C. Section 507(a)(1)

shall be paid (a) in full on the Effective Date of the Plan, or (b) if such claim is objected to,

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on the date of the Final Order allowing any such Administrative Claim, or (c) upon such

other terms as may be agreed to between the Debtor and each such Administrative

Claimant. All case related payments for services, costs, and expenses will be subject to

Court approval. The administrative claimants include the Debtor’s attorney and the Office

of the U.S. Trustee. Payment of the administrative claims for the Debtor’s counsel is

subject to set off for pre-petition retainers, as well as approval by the Court of very detailed

fee applications. The scheduling Order for Confirmation will set forth a deadline for the

filing of all administrative claims, which will be paid on or before confirmation, unless other

payment arrangements are reached between the Debtor and the claimant.

       2.2    All Fees Due Under Section 1129(a)(12) of the Bankruptcy Code shall be paid

as required by 28 U.S.C. Section 1930, or as ordered by the Court at confirmation.

           ARTICLE III - CLASSIFICATION OF OTHER CREDITOR’S CLAIMS AND
      TREATMENT OF CLASSES OF CREDITORS AND CLAIMS UNDER THE PLAN

       3.1    An Allowed Claim is part of a particular class only to the extent that the

Allowed Claim qualifies within the definition of that class and, is in a different class to the

extent that the remainder of the Claim qualifies within the description of a different class.

       3.2    All payments under this Plan shall commence on the Effective Date of the

Plan, unless indicated otherwise.

       3.3    The remaining Creditors and Allowed Claims are divided into the following

classes, which classes shall be mutually exclusive, and satisfied in full as follows:

       Administrative Claims: The administrative claimants include Debtor’s attorney and

the Office of the U.S. Trustee. Payment of the administrative claims for Debtor’s counsel is

subject to set off for pre-petition retainers, as well as approval by the Court of very detailed


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fee applications. The Confirmation Order will set forth a deadline for the filing of all

administrative claims, including all professional’s fee applications, which will be paid in full

ether upon confirmation of this case or from the closing proceeds set aside and escrowed

for that purpose pursuant to the Sale Order.

       1.     Class One: (Martin County Marine Holdings, LLC): The secured claim of

Martin County Marine Holdings, LLC in the amount of $4,417,341.17 plus reasonable fees,

costs, or charges provided for under the agreement shall be paid in full upon closing of the

Sale. Martin County Marine Holdings, LLC filed a Proof of Claim. This claim is unimpaired.

       2.     Class Two: (Florida Department of Revenue): The priority claim of Florida

Department of Revenue in the amount of $27,544.65 shall be paid in full upon closing of

the Sale. Florida Department of Revenue filed a Proof of Claim. This claim is unimpaired.

       3.     Class Three: (Department of the Treasury – Internal Revenue Service):

The priority claim of Department of the Treasury – Internal Revenue Service in the amount

of $100.00 shall be paid in full upon closing of the Sale. This claim is unimpaired.

       4.     Class Four (Mracheck Law): The secured claim of Mracheck Law in the

amount of $266,857.59 shall be paid in full upon closing of the Sale. Mracheck Law filed a

Proof of Claim. This claim is unimpaired.

       5.     Class Five (Martin Downs Property Owners' Association, Inc.): The

secured claim of Martin Downs Property Owners' Association, Inc., in the amount of

$2,042.93 plus any additional fees that may have accrued post-petition shall be paid in full

upon closing of the Sale. Martin Downs Property Owners' Association, Inc. filed a Proof of

Claim. This claim is unimpaired.



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      6.     Class Six (5T Wealth Partners LP): The secured claim of 5T Wealth

Partners LP in the amount of $7,962.25 shall be paid in full upon closing of the Sale. 5T

Wealth Partners LP filed a Proof of Claim. This claim is unimpaired.

      7.     Class Seven (General Unsecured Creditors): The General Unsecured

claims include all other allowed claims of Unsecured Creditors, subject to any Objections

that are filed and sustained by the Court. The undisputed general unsecured claims shall

receive a lump sum payment pro rata distribution of $298,782.78 which shall be paid to this

class of creditors on the Effective Date from sale proceeds set aside and escrowed in the

Trust Account of Debtor’s counsel. Interest will not be paid to this class. This class is

impaired.

      8.     Class Eight (Equity): All remaining net sale proceeds after payments in full

to the allowed creditors and the administrative expenses, as set forth above, shall be

escrowed in the Trust Account of Debtor’s counsel. On the Effective Date, and after all

other allowed claims and administrative claims in this estate have been paid in full, the

resulting net sale proceeds shall be distributed back to the Debtor to fund the wind-down

operations and expenses. The Debtor shall decide what amount to distribute to the

principal, Tim Mullen, as the sole equity-holder, after the Debtor determines the amount of

funds needed to prepare the final tax return documents and pay final expenses of the

Debtor. This claim is impaired.

      3.4    Blank Ballot

             Any ballot not filed in accordance with the filing instructions on the Ballot

pertaining to this Plan shall not be counted for voting purposes.



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                               ARTICLE IV – IMPAIRMENT

       4.1    According to the above terms of this Plan, Class 7 and 8 are impaired.

Impaired Classes will be treated as fully set forth in Article III above. Unimpaired classes

are not entitled to vote for the Plan.

                        ARTICLE V - EXECUTION OF THE PLAN

       5.1    The creditors will be paid from the sale of the assets contemplated in the

Debtor’s Motion for Authorization to Sell Assets Free and Clear of Liens, Claims,

Encumbrances and Interests [D.E. #138], as more fully set forth above. The Debtor

submits that there will be sufficient net sales proceeds to make all distributions to Classes

1-7, as reflected in the Disclosure Statement and Exhibits attached thereto.

       5.2    In the event the Sale does not close as contemplated in the Sale Motion and

herein, then the Debtor shall sell the Assets through an auction sale, pursuant to the

following terms and conditions.      The Sale Contracts with Integra Real Estate, LLC

appended to the Sale Motion are deemed exclusive and, therefore, the proposed auction

procedure shall only commence in the event that the proposed sale does not close on

October 17, 2020, or the date under any authorized extensions of the Sale Contacts, as

agreed between parties or approved by the Court. Tranzon Driggers will be retained as the

exclusive marketing and auction firm and will be paid a buyer’s premium of 10%, as

opposed to a commission by the Debtor. There shall be a minimum of a one hundred and

twenty (120) day marketing period to allow marketing efforts to occur beyond the holiday

season. The auction sale will occur no earlier than February 17, 2021. The proposed

bidding and auction procedures will be prepared and drafted by Debtor’s counsel and

submitted to this Court for approval in the event this auction procedure becomes

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necessary.

       5.2    Upon the entry of the Confirmation Order, the Debtor shall be vested with all

the Debtor in Possessions’ rights, title and interests in the remaining assets of MERIDIAN

MARINA & YACHT CLUB OF PALM CITY, LLC free and clear, of all claims and interests

of Creditors, except as otherwise provided herein. The tax provisions and exemptions of

11 U.S.C., Section 1146 shall apply to all transactions contemplated by this Plan.

       5.3     After the entry of Order of Confirmation, the Reorganized Debtor will

manage its financial and business affairs without further supervision of the Court. The

Debtor will no longer continue to operate except to the extent that it will retain ownership of

1120 SW Chapman Way.

       5.4    The Disbursing Agent for the initial distribution under the Plan shall be Kelley,

Fulton, & Kaplan, P.L. from funds the sale of the assets. All subsequent payments shall be

made by the Debtor and/or the reorganized Debtor.

                 ARTICLE VI - POST-CONFIRMATION REORGANIZED
                              DEBTOR’S STRUCTURE

       6.1    Debtor’s primary assets shall be liquidated and there shall be no further

operations. Debtor shall retain 1120 SW Chapman Way for a future sale.

        ARTICLE VII - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       7.1    Debtor shall not assume any executory contracts or unexpired leases.

       7.2    Any and all Executory Contracts and unexpired leases of the Debtor not

expressly assumed within the Plan, not assumed prior to the Confirmation Date, or as of

the Confirmation Date, or the subject of pending applications to assume, shall be deemed

rejected. Contracts and Leases will be assumed on the Effective Date.


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       7.3     Any claim for a rejected contract or lease shall be paid as a General

Unsecured Claim by agreement, or upon determination by the Court, to the extent that such

claims are allowed.

                       ARTICLE VIII - MODIFICATION OF THE PLAN

       8.1     The Debtor may propose amendments to or modifications of this Plan, and

any amendments thereto, at any time prior to confirmation with the leave of Court upon

notice to parties entitled to receive the same. After confirmation, the Debtor, may, with

approval of the Court, and so long as it does not materially adversely affect the interest of

creditors, remedy any defect or omission, or reconcile any inconsistencies of the Plan, or in

the Order of Confirmation, in such a manner as is necessary to carry out the purposes and

effect of this Plan.

       8.2     The Debtor further reserves the right, at any time after confirmation, to pay

down at a faster rate to any different class the sums indicated and set forth in Articles III

above, should such monies be available.

                        ARTICLE IX - CONFIRMATION REQUEST

       9.1     If all of the applicable provisions of 11 U.S.C. Section 1129(a), [other than

paragraph (8)], are found to have been met with respect to the Plan, the Debtor seeks

confirmation pursuant to 11 U.S.C. Section 1129(a). The Debtor reserves the right, in the

event that impaired classes reject the Plan of Reorganization, or any amendments or

modifications thereto, to seek confirmation of the Plan pursuant to the “cramdown”

provisions of 11 U.S.C. Section 1129(b), if the Court finds at a hearing on confirmation that

the Plan does not discriminate unfairly and is fair and equitable with respect to each

dissenting class. Furthermore, in order for the Plan to be confirmed, of the ballots or votes

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cast, Creditors that hold at least 2/3's in amount and more than 1/2 in number of the

allowed claims of impaired classes must accept the Plan.

                       ARTICLE X - EFFECT OF CONFIRMATION

       10.1   Discharge: Except as otherwise provided in this Plan, confirmation of the

Plan shall be deemed to have discharged the Debtor, and its professionals, pursuant to

Section 1141(d)(1) of the Code from any claim that arose on or prior to the Confirmation

Date, and any claim of a kind specified in Section 502(g), (h) or (I) of the Bankruptcy Code

whether or not: (i) a proof of the claim is filed or deemed to be filed under Sections 501 and

1111(a) of the Bankruptcy Code; (ii) such claim is allowed under Section 502 of the

Bankruptcy Code; or (iii) the holder of such claim has accepted the Plan.

       10.2   The payments to be made pursuant to this Plan by the Debtor shall be in full

settlement and satisfaction of all claims against the Debtor.

                     ARTICLE XI - RETENTION OF JURISDICTION




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       11.1   From and after entry of the Confirmation Order, the Bankruptcy Court shall

retain such jurisdiction as is legally permissible over the reorganization case to insure that

the purpose and intent of this Plan is carried out and for the following purposes: (a) to hear

and determine any and all objections to the allowance of any claim; (b) to determine the

classification of the claim of any creditor and the reexamination of any claims which have

been allowed for the purposes of voting. The failure by the Debtor to object to, or to

examine any claims for the purposes of voting, shall not be deemed a waiver of the

Debtor’s right to object, or reexamine the claim in whole or in part; (c) to hear and

determine any and all applications for compensation for and reimbursement of expenses to

professionals, as well as to hear and determine any and all applications for compensation

and reimbursement of expenses to professionals as well as to hear and determine claims

entitled to priority under Section 507(a)(1) of the Bankruptcy Code, and enforce all Orders

entered on such fee applications; (d) to enable the Debtor to prosecute any and all

proceedings which may be brought to set aside liens or encumbrances and to recover any

transfers, property, or damages to which the Debtor may be entitled under applicable

provisions of the Bankruptcy Code or any Federal, State or local laws; including causes of

action, controversies, disputes and conflicts between the Debtor and any other party

including but not limited to any causes of actions for objections to claims, preferences or

fraudulent transfers and obligations or equitable subordination; and to enter any Order

showing that good, sufficient and marketable legal title is conveyed to the purchaser of any

of the Debtor’s property; (e) to consider any necessary valuation issues under Section 506

of the Code, and any proceeding to determine the amount, validity and priority in

connection with the Debtor’s property; (f) to determine the rights of any party with respect to

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the assumption or rejection of any Executory Contracts or Unexpired Leases; (g) to correct

any default, cure any omission or reconcile any inconsistency in the Plan or Order of

Confirmation, as may be necessary to carry out the purposes and intent of this Plan; (h) to

modify this Plan after Confirmation, pursuant to applicable sections of the Code; (i) to

enforce and interpret the terms and conditions of this Plan; (j) to enter Orders to enforce the

title, rights and power of the estate as the Court may deem necessary; (k) to enter Order

concluding and closing this case; (l) to make such Order or give such directions as may be

appropriate under Section 1142 of the Code.

                             ARTICLE XII- MISCELLANEOUS

       12.1   Headings: Headings are utilized in this Plan for the convenience of reference

only and shall not constitute a part of this Plan for any other purpose.

       12.2   Defects, Omissions and Amendments: This Plan may be altered, amended or

modified by the Debtor before or after the Confirmation Date as provided in Section 1127 of

the Bankruptcy Code.

       12.3   Governing Law: Except to the extent that the Bankruptcy Code or State Law

is applicable, all rights and obligations arising under this Plan shall be governed by, and

construed and enforced in accordance with the Laws of the State of Florida, and venue in

the Southern District of Florida, West Palm Beach Division or Palm Beach County.

       12.4   Severability: Should any provision of this Plan be determined to be

unenforceable, such determination in no way limit or affect the enforceability and the

operative effect of any or all other provisions of this Plan.

       12.5   Consistency: Should any portion of this Plan or accompanying Disclosure

Statement conflict with any portion of the Petition, Schedules, Statement of Financial

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Affairs, pleadings or correspondence related to this matter, then the terms herein shall

prevail and supersede all others.

       12.6   Quarterly Trustee Fees; The Debtor is current in the payment of all quarterly

fees to the U.S. Trustee to date. Pursuant to 28 U.S.C. Section 1930(a)(6), the Debtor

shall pay to the U.S. Trustee’s office all appropriate quarterly fees based upon post-petition

disbursements until this case is closed by the entry of a final decree on the confirmed Plan.

Notwithstanding any other provisions of the Plan to the contrary, the Debtor shall pay the

United States Trustee the appropriate sum required pursuant to 28 U.S.C. Section

1930(a)(6), within ten (10) days of the entry of the order confirming this Plan, for pre-

confirmation periods and simultaneously provide to the United States Trustee an

appropriate report indicating the cash disbursements for the relevant period. The Debtor,

as reorganized Debtor, shall further pay the United States Trustee the appropriate sum

required pursuant to 28 U.S.C. Section 1930(a)(6) for post confirmation periods within the

time period set forth in 28 U.S.C. Section 1930(a)(6), based upon all post-confirmation

disbursements made by the reorganized Debtor, until the earlier of the closing of this case

by the issuance of a Final Decree by the Bankruptcy Court, or upon the entry of an Order

by the Bankruptcy Court dismissing this case or converting this case to another chapter

under the United States Bankruptcy Code, and the reorganized Debtor shall provide to the

United States Trustee upon the payment of each post-confirmation payment an appropriate

report indicating all the cash disbursements for the relevant period.




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      This Second Amended Plan of Reorganization has been executed this 27th day

of July 2020.


                               Meridian Mari    & Yacht Club of Palm City, LLC




                                       othy Mullen
                                      ember Manager




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